                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 22-cv-1685-RM-NRN

ROCKY MOUNTAIN GUN OWNERS,
NATIONAL ASSOCIATION FOR GUN RIGHTS, and
CHARLES BRADLEY WALKER,

       Plaintiffs,

v.

THE TOWN OF SUPERIOR, a Colorado municipality,

       Defendant.


                                ENTRY OF APPEARANCE


To the clerk of court and all parties of record:

       I hereby certify that I am a member in good standing of the bar of this court, and I

appear in this case as counsel for The Town of Superior.




       DATED at Denver, Colorado this 29th day of July, 2022     .



                                                   /s/ Carey Richard Dunne
                                                   Carey R. Dunne, Esq.
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                               CERTIFICATE OF SERVICE

I hereby certify that on this 29th day of July, 2022 I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which will send notification of such
filing to the following email addresses:

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